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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 PATRICK ENGLERT, d/b/a PERFECT                 )
 HEALTH,                                        )
                                                )
                Plaintiff,                      )
                                                ) Case No. 4:17-CV-00993 AGF
 v.                                             )
                                                )
 BEAUTYFIT, INC, a Florida Corporation          ) JURY TRIAL DEMANDED
                                                )
                Defendant.                      )

                             BEAUTYFIT’S MOTION TO DISMISS

       COMES NOW Defendant BeautyFit, Inc. (“BeautyFit”), by and through its undersigned

counsel, and hereby moves to dismiss the Complaint for lack of personal jurisdiction pursuant to

Federal Rule of Civil Procedure 12(b)(2) and for failure to state a claim pursuant to Federal Rule

of Civil Procedure 12(b)(6). For the reasons stated more fully in BeautyFit’s Memorandum in

Support of this Motion, which is incorporated fully herein, the Complaint should be dismissed for

lack of personal jurisdiction because BeautyFit is a Florida corporation that has not engaged in any

act that would permit this Court to exercise jurisdiction over it under Missouri’s long-arm statute,

and any exercise of jurisdiction over BeautyFit would violate the Due Process Clause of the

Fourteenth Amendment. Furthermore, the Complaint fails to state a claim for which relief can be

granted for: (1) fraudulent misrepresentation under Missouri law; (2) a violation under the

Missouri Merchandising Practices Act; and (3) breach of contract under Missouri law. In addition,

the Complaint should be dismissed because BeautyFit is not a proper party to this action.




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       WHEREFORE, and for the reasons further set forth in the accompanying Memorandum in

Support of this Motion, Defendant BeautyFit, Inc. respectfully requests this Court enter an Order

pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) dismissing the Complaint in

its entirety with prejudice and for such other and further relief as the Court deems just and proper.



 Dated: September 20, 2017                           Respectfully submitted,

                                                     DOWD BENNETT LLP

                                                     By: /s/ Arsenio L. Mims
                                                         Matthew K. Crane #65854MO
                                                         Arsenio L: Mims #68771MO
                                                         7733 Forsyth Blvd., Suite 1900
                                                         St. Louis, MO 63105
                                                         314/889-7300 (Telephone)
                                                         314/863-2111 (Facsimile)
                                                         mcrane@dowdbennett.com
                                                         amims@dowdbennett.com

                                                         Attorneys for Defendant BeautyFit, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2017, the foregoing was filed electronically with

the Clerk of Court to be served by operation of the Court’s electronic filing system.



                                             /s/ Arsenio L. Mims




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